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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                         )
 In re:                                                  )      Chapter 11
                                                         )
 KEVIN CONCANNON, LLC d/b/a LIFELINE                     )      Case No. 23-90759
 PHARMACY,                                               )
                                                         )
                    Debtor.                              )
                                                         )
                                                         )
 LIFELINE PHARMACY 1, LLC,                               )
                                                         )
                    Plaintiff,                           )
                                                         )
 v.                                                      )      Adv. Pro. No. 23-___________
                                                         )
 KEVIN CONCANNON, LLC d/b/a LIFELINE                     )
 PHARMACY, KEVIN H. CONCANNON, JR.,                      )
 and LIFE ONE                                            )
                                                         )
                    Defendants.                          )
                                                         )

                                      NOTICE OF REMOVAL

          Defendant Kevin Concannon, LLC d/b/a Lifeline Pharmacy (the “Debtor”), files this

Notice of Removal (this “Notice”) of Cause No. C-2689-23-J (the “State Court Action”) from the

430th District Court for Hidalgo County, Texas (the “State Court”) to the U.S. Bankruptcy Court

for the Southern District of Texas, Houston Division (the “Bankruptcy Court”), and respectfully

states as follows:

          1.       On August 2, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the U.S. Code (the “Bankruptcy Code”), commencing the

above-captioned case (the “Chapter 11 Case”).

          2.       Removal is proper pursuant to 28 U.S.C. § 1452(a), which allows a party to remove



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a pending state court proceeding to a district court “if such district court has jurisdiction of such

claim or cause of action under [§] 1334 of this title.” 28 U.S.C § 1452(a), and rule 9027 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). Section 1334 of title 28

provides federal district courts with “original but not exclusive jurisdiction of all civil proceedings

arising under Title11 [of the United States Code] or arising in or related to cases under Title 11.”

28 U.S.C. § 1334.

           3.        Pursuant to rule 9027-2 of the Bankruptcy Local Rules for the Southern District of

Texas, the Debtor consents to the jurisdiction of the Bankruptcy Court should it be determined that

the Bankruptcy Court, absent consent of the parties, cannot enter final orders or judgment

consistent with Article III of the United States Constitution.

                                       Background and Procedural History

           4.        On July 7, 2023, Lifeline Pharmacy 1, LLC (the “Plaintiff”) filed the State Court

Action against the Debtor, Kevin H. Concannon, Jr., and Life One to:

                     a. recover amounts allegedly owing by the Debtor under the following
                        agreements:

                         i. a promissory note in the original principal amount of $6,294,784.00;

                         ii. a promissory note in the original principal amount of $575,000.00;

                         iii. a Payment Agreement in the original principal amount of $343,000.00
                              (the “Payment Agreement”);

                     b. foreclose its interest in the Plaintiff’s alleged collateral;

                     c. exercise replevin rights in the Plaintiff’s alleged collateral; and

                     d. enforce certain rights under related personal and corporate guarantees 1

           5.        Each of the above-listed financial documents were entered into in connection with



1
    This is not specified as a cause of action but is referenced in ¶ 21 of the Lawsuit.



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commercial loans related to a sale of an operating pharmacy business (the “Pharmacy Business”).

The Pharmacy Business is part of the Plaintiff’s alleged collateral.

         6.       The petition commencing the State Court Action is attached hereto as Exhibit 1. A

copy of the answer filed for all defendants is annexed hereto as Exhibit 2. A copy of Plaintiff’s

Application for a Writ of Attachment is annexed hereto as Exhibit “3”, with a copy of Mobeem’s

Affidavit in Support of the Writ of Attachment (the “Mobeem Attachment Affidavit”) annexed

thereto as Exhibit “A”. 2 A copy of the Proposed Order Granting Application for Writ of

Attachment is annexed hereto as Exhibit “4.” A copy of the Order Resetting Hearing on the

Application for Writ of Attachment is annexed hereto as Exhibit “5.” A copy of the docket sheet

for the State Court Action is attached hereto as Exhibit “6.” This constitutes a copy of all papers

that have been filed in the State Court, as required by Bankruptcy Rule 9027(a)(1) and Bankruptcy

Local Rule 9027-1(b). 3

                                               Basis for Removal

         7.       This Notice is timely under Bankruptcy Rule 9027(a)(2) because it is filed on the

Petition Date.

         8.       Under 28 U.S.C. § 1334(b), this Bankruptcy Court has jurisdiction over

proceedings (a) “arising under title 11”; (b) “arising in” a case under title 11; and (c) “related to”

a case under title 11. The classification of a proceeding under section 1334 depends on the

connection of the proceeding to the underlying bankruptcy case. This Court has both “arising in”

and “related to” jurisdiction over the State Court Action.



2
  The Mobeem Attachment Affidavit contains as Ex. A-1 – A- 6 documents that are attached to the Mobeem Petition
(Exhibit “1”) and are not reannexed. Following the final page of the Mobeem Attachment Affidavit is a list of duplicate
documents and their corresponding references as attachments to the Original Petition. Annexed hereto as Exhibit “B”
and Exhibit “C” to the Application for the Writ of Attachment (Exhibit “3) is a copy of the Cloudfund Lawsuit and
the Coldwater Capital lawsuit as Exhibits “B” and “C” respectively.
3
  Any additional documents that are filed in the State Court will be supplied to the Court.


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         9.       “Arising in” jurisdiction describes proceedings that are “not based on any right

expressly created by title 11, but nevertheless, would have no existence outside of the bankruptcy.”

Wood v. Wood (In re Wood), 825 F.2d 90, 97 (5th Cir. 1987).

         10.      The present proceeding “arises in” the Chapter 11 Case and is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2)(A), (B), (C), (K), and (O) because it concerns: (a) the Plaintiff’s

claims against the Debtor’s estate; (b) counterclaims against the Plaintiff; (c) the determination of

the nature, extent, validity and priority of Plaintiff’s asserted security interests in property of the

Debtor’s estate; and (d) the ability of the Plaintiff to enforce the Noncompete against the Debtor.

         11.      While the Debtor contests the claims asserted in the State Court Action, the Plaintiff

will no doubt assert its claims against the Debtor in this Chapter 11 Case. The Debtor has direct

compulsory counterclaims against the Plaintiff that will necessarily affect the amount, and

potentially the allowance, of the Plaintiff’s claims. If the Noncompete is enforced against the

Debtor, its operations and the administration of the Chapter 11 Case will be severely impacted.

Accordingly, the claims asserted against the Debtor should be adjudicated by the Bankruptcy

Court.

         12.      A matter is “related to” a bankruptcy case, thereby giving the bankruptcy court

“related to jurisdiction” under 28 U.S.C. § 1334(b), if the outcome could have some conceivable

effect on the bankruptcy case. The standard has been succinctly stated by the Fifth Circuit as

follows:

                  Proceedings are “related to” bankruptcy cases if their outcome “could
                  conceivably have any effect on the estate being administered in
                  bankruptcy.” [Bass v. Denney (In re Bass), 171 F.3d 1016, 1022 (5th Cir.
                  1999)] (quoting Walker v. Cadle Co. (In re Walker), 51 F.3d 562, 569 (5th
                  Cir. 1995)). A “conceivable effect” in this context is any that “could alter
                  the debtor’s rights, liabilities, options, or freedom of action (either
                  positively or negatively) and which in any way impacts upon the handling
                  and administration of the bankrupt estate.” FDIC v. Majestic Energy Corp.



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                (In re Majestic Energy Corp.), 835 F.2d 87, 90 (5th Cir. 1988) (emphasis
                added) (quoting Pacor v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984)).

Fire Eagle L.L.C. v. Bischoff (In re Spillman Dev. Grp., Ltd.), 710 F.3d 299, 304 (5th Cir. 2013)

(emphasis in original). In enacting section 1334(b), “Congress intended to grant comprehensive

jurisdiction to the bankruptcy courts so that they might deal efficiently and expeditiously with all

matters connected with the bankruptcy estate.” Celotex Corp. v. Edwards, 514 U.S. 300, 308

(1995).

          13.   The present proceeding is “related to” a bankruptcy case because, for all the reasons

expressed above, the outcome of the proceeding will unquestionably directly affect the Debtor’s

estate. 28 U.S.C. § 1334(b).

          14.   Removal in this District is proper because the State Court Action is pending in this

District. “A party may remove any claim or cause of action in a civil action… to the district court

for the district where such civil action is pending, if such district court has jurisdiction of such

claim or cause of action under 1334[.]” 28 U.S.C. § 1452(a). According to 28 U.S.C. § 1334(b),

“the district courts shall have original but not exclusive jurisdiction of all civil proceedings…

related to cases under title 11.”

          15.   Removal directly to this Court is appropriate pursuant to the Southern District of

Texas’s General Order, dated May 24, 2012, which provides for the automatic referral of “arising

under,” “arising in,” and “related to” matters to bankruptcy judges.

                COMPLIANCE WITH OTHER REMOVAL PROCEDURES

          16.   Pursuant to Bankruptcy Rule 9027(b), the Debtor will file a separate notice of

removal in the State Court Action and will serve a copy on all parties to the State Court Action.

          17.   Pursuant to Bankruptcy Local Rule 9027-1(a), the names and addresses of the

parties, along with their respective counsel, are as follows:



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                                                                     Proposed Co-Counsel
 Plaintiff:                      Defendants:                         to the Debtor:
 Lifeline Pharmacy 1, LLC        Kevin Concannon, LLC                Patrick J Neligan, Jr.
 2500 W. Trenton Rd Suite 12     4729 E. Sunrise Dr., PMB 408        Neligan LLP
 Edinburg, Texas 78539           Tucson, AZ 85718                    4851 LBJ Freeway, Suite 700
 Attn: Mobeen Ahmed              Attn: Kevin Concannon,              Dallas, Texas 75244
                                 Managing Member
 Counsel to the Plaintiff:                                           - and –
 Rick A. Zuniga                  Kevin Concannon
 Atlas, Hall & Rodriguez, LLP    4729 E. Sunrise Dr.                 Robert L. Rattet
 P. O. Drawer 3725 (78502)       PMB 408                             Davidoff Hutcher & Citron
 818 West Pecan Boulevard        Tucson, AZ 85718                    LLP
 McAllen, Texas 78501                                                605 Third Avenue
                                 Sarah Concannon                     New York, New York 10158
                                 4729 E. Sunrise Dr.
                                 PMB 408
                                 Tucson, AZ 85718                    Counsel to Mr. and Ms.
                                                                     Concannon:
                                 Life One LLC
                                 (To the best of the Debtor’s        Edward C. Snyder Attorney at
                                 knowledge, Life One LLC does        Law PLLC
                                 not exist. This entity is listed    Lincoln Center
                                 in the caption of the State         7800 W I-10 Suite 605
                                 Court Action but is not listed as   San Antonio, Texas 78230
                                 a party in the Parties section of
                                 the Petition)                       Christopher Thompson, Esq.
                                                                     33 Davison Lane East
                                                                     West Islip, NY 11795

       18.    Service of process was accomplished on Kevin Concannon, LLC on July 7, 2023.

Service of process was accomplished on Kevin Concannon on July 10, 2023. Sarah Concannon,

who was not included in the State Court Action’s caption, was recently served with process. To

the best of the Debtor’s knowledge, Life One LLC does not exist.




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Respectfully submitted this 2nd day of August, 2023.

                                           NELIGAN LLP

                                           By: /s/ Patrick J. Neligan, Jr.
                                                Patrick J. Neligan, Jr.
                                                Texas Bar No. 14866000
                                                Douglas J. Buncher
                                                Texas Bar No. 03342700
                                           4851 LBJ Freeway, Suite 700
                                           Dallas, Texas 75244
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                                                        dbuncher@neliganlaw.com

                                           Proposed Local Counsel to the Debtor
                                           and Debtor in Possession

                                           - and –

                                           DAVIDOFF HUTCHER & CITRON LLP

                                                Robert L. Rattet (pro hac vice pending)
                                           605 Third Avenue
                                           New York, New York 10158
                                           Telephone: (914) 381-7400
                                           Email:      rlr@dhclegal.com

                                           Proposed Co-Counsel to the Debtor
                                           and Debtor in Possession




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                                     Certificate of Service

        I hereby certify that on August 2, 2023, a true and correct copy of the foregoing document
was served via CM/ECF to all parties authorized to receive electronic notice in this case and on
the parties listed below via first class U.S. mail, postage prepaid.

    Plaintiff:                    Counsel to the Plaintiff:         Counsel to Mr. and Ms.
                                                                    Concannon:
    Mobeen Ahmed                  Rick A. Zuniga
    Lifeline Pharmacy 1, LLC      Atlas, Hall & Rodriguez, LLP      Christopher Thompson, Esq.
    2500 W. Trenton Rd Suite 12   P. O. Drawer 3725 (78502)         33 Davison Lane East
    Edinburg, Texas 78539         818 West Pecan Boulevard          West Islip, NY 11795
                                  McAllen, Texas 78501

                                                    /s/ Patrick J. Neligan
                                                    Patrick J. Neligan, Jr.




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